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Case 2:04-cr-20237-.]PI\/| Document 51 Filed 08/12/05 Page 1 of 2 Page|D 50

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IN THE UNITED STATES DISTRICT COURT 05 AUG l 2 PH 3= lili
FOR THE WESTERN DISTRICT OF TENNESSEE THOWO
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WESTERN DIVISION m UQWH{SIU m

,v.\ L).
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UNITED STATES OF AMERICA,

Plaintiff, Case No. 04-20237 D

vs.
REGINALD MCWILLIAMS,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge J on P. McCalla. The parties shall, on
all pleadings and correspondence related to this matter, change the judge’ s initials in the case number

from 04-20237 D to 04-20237 MI.

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CE BO DONALD
ITED STATES DISTRICT JUDGE

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UNITED STATE DISTRIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 51 in
case 2:04-CR-20237 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

